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    7                                  UNITED STATES DISTRICT COURT
    8                                 CENTRAL DISTRICT OF CALIFORNIA
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        STEVEN RUPP, et al.,                            CASE NO. 8:17-cv-00746-JLS-JDE
   10
   11                   Plaintiffs,                     ORDER (1) GRANTING DEFENDANT’S
   12                                                   MOTION TO DISMISS (Doc. 17);
                vs.                                     (2) DENYING PLAINTIFFS’ MOTION
   13                                                   FOR PRELIMINARY INJUNCTION (Doc.
   14 XAVIER BECERRA, in his official                   24); AND (3) DENYING PLAINTIFFS’
        capacity as Attorney General of the State of    MOTION FOR LEAVE AS MOOT (Doc.
   15                                                   41)
        California, and DOES 1-10,
   16
   17                   Defendants.

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   21      I.         INTRODUCTION
   22           Plaintiffs’ lawsuit challenges certain provisions in California’s Assault Weapons
   23 Control Act, alleging they violate the Due Process Clause, the Takings Clause, and the
   24 Second Amendment of the Constitution. There are presently three motions before the
   25 Court. First, Defendant Xavier Becerra, in his capacity as Attorney General of the State of
   26 California, moves to dismiss Plaintiffs’ Due Process Clause and Takings Clause Claims.
   27 Second, Plaintiffs move for a preliminary injunction. Third, after full briefing and oral
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    1 argument on these motions, Plaintiffs filed a Motion for Leave to file a supplemental
    2 declaration of Dennis Martin in support of their Motion for Preliminary Injunction.
    3 Having fully considered the papers and arguments of the parties, the Court GRANTS
    4 Defendant’s Motion to Dismiss, DENIES Plaintiffs’ Motion for Preliminary Injunction,
    5 and DENIES AS MOOT Plaintiffs’ Motion for Leave.
    6      II.       BACKGROUND
    7                A. The Assault Weapons Control Act
    8            In 2016, the California State Legislature amended California Penal Code section
    9 30515, the section of the Assault Weapons Control Act (AWCA) that defines prohibited
   10 assault weapons by their features. (FAC ¶ 37, Doc. 16.) The AWCA, originally passed in
   11 1989, made it a felony offense to manufacture assault weapons within the State of
   12 California, or to possess, sell, transfer, or import such weapons into the state without a
   13 permit. (Mem re: MTD at 3; Cal. Penal Code §§ 30600, 30605.) At the time of its
   14 passage, the AWCA included a list of specific assault weapons identified by their make
   15 and model. 1 Cal. Penal Code § 30510. The legislature found that each of these firearms
   16 “has such a high rate of fire and capacity for firepower that its function as a legitimate
   17 sports or recreational firearm is substantially outweighed by the danger that it can be used
   18 to kill and injure human beings.” Cal. Penal Code § 30505(a). Since the AWCA’s
   19 passage, state legislators have amended the definition of “assault weapon” on a number of
   20 occasions, to prohibit the proliferation of “copycat” weapons that were functionally similar
   21 to the banned weapons. (FAC ¶ 30; Mem. re: MTD at 4.)
   22            In particular, the AWCA was amended in 1999 to allow legislators to define a new
   23 class of restricted weapons according to their features rather than by model. Cal. Penal
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   25          There are two lists of assault weapons, one created when the law was passed in 1989 and
      another added when the law was amended in 2000. Plaintiffs refer to the first list as “Category 1”
   26 weapons and the second as “Category 2.” (FAC ¶¶ 23-29). Category 1 weapons are listed in
      California Penal Code section 30510, and Category 2 are listed in the California Code of
   27 Regulations, title 11, section 5499.
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    1 Code § 30515. (FAC ¶ 30.) This new category (“Category 3”) was intended to allow
    2 “more flexib[ility] in response to technological developments in the manufacture of
    3 semiautomatic weapons.” California Bill Analysis, S.B. 880 Assem., 6/14/2016 at 4. 2
    4 Section 30515 describes combinations of features that bring a weapon within the definition
    5 of an “assault weapon.” The features at issue in this case are the pistol grip, thumbhole
    6 stock, flash suppressor, and telescoping stock. (FAC ¶ 8.)
    7          Under the 1999 amendments, one feature that, when combined with one or more of
    8 the above-listed features, rendered the weapon an “assault weapon” was “the capacity to
    9 accept a detachable magazine.” (FAC ¶ 34; S.B. 880 Hearing at 4.) Under the
   10 amendments, if a magazine required a “tool” for detachment, it was not considered
   11 detachable. In response to this definition, firearms manufacturers developed a product
   12 called a “magazine lock” that required the use of a bullet to depress a button to release the
   13 magazine. (FAC ¶ 35; MTD at 4-5.) The button, which Defendant refers to as a “bullet
   14 button,” enabled the magazine to be “removed and replaced in seconds” while not being
   15 technically “detachable.” (MTD at 5.) The legislature described the difference between a
   16 standard detachable ammunition magazine and a magazine lock with a bullet button
   17 feature as a “loophole.” S.B. 880 Hearing at 3, 4.
   18          S.B. 880 was proposed in response to a December 2015 mass shooting in San
   19 Bernardino, where two assailants used weapons equipped with the bullet button magazine
   20 locks to shoot 36 people in less than four minutes. S.B. 880 Hearing at 8. The bill amends
   21 the definition of assault weapons pursuant to section 30515 so that, rather than referring to
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                 The California Supreme Court upheld these amendments in the face of Equal Protection,
   24   separation of powers, and Due Process (vagueness) challenges. Kasler v. Lockyer, 23 Cal. 4th 472
        (2000). The Ninth Circuit also upheld the law, finding that the Second Amendment did not
   25   provide an individual right to possess a weapon; it dismissed constitutional claims based on the
        Equal Protection and Takings Clauses and the First Amendment. Silveira v. Lockyer, 312 F.3d
   26   1052 (9th Cir. 2002). In District of Columbia v. Heller, the Supreme Court largely overruled
        Silveira’s Second Amendment analysis, but did not address Silveira’s Takings analysis. 554 U.S.
   27   570.
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    1 weapons “with the capacity to accept a detachable magazine,” it refers to a weapon “that
    2 does not have a fixed magazine” in combination with other features. 3 Cal. Penal Code
    3 § 30515; S.B. 880 Hearing at 1. A fixed magazine is defined as “an ammunition feeding
    4 device contained in, or permanently attached to, a firearm in such a manner that the device
    5 cannot be removed without disassembly of the firearm action.” Cal. Penal Code
    6 § 30515(b). In particular, a weapon is an assault weapon if it does not have a fixed
    7 magazine and has one of the following features: a pistol grip that protrudes conspicuously
    8 beneath the action of the weapon; a thumbhole stock; a folding or telescoping stock; a
    9 grenade or flare launcher; a flash suppressor; or a forward pistol grip. Cal. Penal Code
   10 § 30515(a)(2)(A)-(F). By its plain language, the statute does not include weapons with
   11 (a) a fixed magazine that have the enumerated features, or (b) weapons with the capacity to
   12 accept a detachable magazine that lack any of the enumerated features.
   13          The law provides that a person who, between January 1, 2001 and December 31,
   14 2016, lawfully acquired and possessed a weapon now described by the statute must either:
   15 (1) register the weapon prior to July 1, 2018 (Cal. Penal Code §§ 30680, 30900(b)(1)) (the
   16 “registration option”); (2) sell the weapon either out of state or to a licensed gun dealer
   17 within the state (Cal. Penal Code § 31055); (3) modify the weapon to fix the magazine or
   18 remove the enumerated features; or (4) store the weapon outside of the state. According to
   19 the statute, in order to exercise the registration option, an owner must provide “the date the
   20 firearm was acquired” and “the name and address of the individual from whom, or
   21 business from which, the firearm was acquired.” (The “date-and-source requirement 4”)
   22 Cal. Penal Code §§ 30680, 30900(b). If the owner of such a weapon bequeaths it, the
   23 devisee has ninety days to render the weapon permanently inoperable, sell it to a licensed
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   25           Plaintiffs refer to these newly-designated assault weapons as “Category 4” weapons.
      (FAC ¶ 38.)
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                Throughout this Order, the Court will refer to the option for a weapon owner to register
      and keep the weapon as the “registration option.” The requirement that the date and source of
   27 acquisition be provided to the government if an owner chooses to exercise the registration option
   28 will be referred to as the “date-and-source requirement.”
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    1 gun dealer, obtain a permit for the weapon, or remove it from the state. Cal. Penal Code
    2 § 30915.
    3             B. The Litigation
    4         Plaintiffs brought suit challenging the AWCA, claiming that the law violates the
    5 Second Amendment, the Due Process Clause, and the Takings Clause. (FAC ¶¶ 68-116.)
    6 Plaintiffs are eight individuals 5 and one association, the California Rifle & Pistol
    7 Association. (Id. ¶¶ 48-59.) Of the Individual Plaintiffs, some already own weapons that
    8 fall within the definition of assault weapons, and others seek to acquire such weapons.
    9 One of the Individual Plaintiffs, Dennis Martin, owns an assault weapon. (Id. ¶ 56.) He
   10 states that he “will not be able to meet the AWCA’s registration requirements because he
   11 does not know and has no readily available source to discover: (1) the exact date he
   12 acquired the rifle; or (2) the name or address of the individual or business from whom he
   13 acquired the rifle.” (Id. ¶ 56.) Martin is the only Individual Plaintiff who asserts such a
   14 barrier to meeting the date-and-source requirement. The California Rifle & Pistol
   15 Association has “some . . . members who already legally possess rifles” and who also “do
   16 not know and do not have any readily available source to discover” the information
   17 necessary to meet the date-and-source requirement. (Id. ¶ 60.)
   18         Plaintiffs object to both the 2016 amendments and the AWCA as a whole. They
   19 seek declaratory relief that the code sections prohibiting possession of semiautomatic
   20 firearms are unconstitutional, and injunctive relief enjoining enforcement of the
   21 date-and-source requirement. The code sections at issue are section 30510(a) (defining
   22 what Plaintiffs refer to as “Category 1” and “Category 2” rifles, those defined by model);
   23 section 30515(a)(1)(A-C) and (E-F) (defining the additional features which, in
   24 combination with a non-fixed magazine, render a weapon an “assault weapon”); section
   25 30515(a)(3) (defining weapon by length); section 30520 (“duties of Attorney General,”
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               The FAC names a ninth individual, Douglas Grassey, whom the parties have since
   28 stipulated to dismiss. (See Stipulation, Doc. 23; Order Dismissing Grassey, Doc. 26.)

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    1 allowing the California Attorney General to designate and/or describe weapons); section
    2 30600 (prohibiting the manufacture, distribution, transportation, importation, sale, gift, or
    3 loan of assault weapons); section 30605 (penalties for possession); section 30900(b)(3)
    4 (registration option including required provision of date and source of acquisition); section
    5 30925 (required actions for those bringing an assault weapon into the state); and section
    6 30945 (conditions for possessing a registered assault weapon). The suit also challenges
    7 California Code of Regulations, title 11, section 5499, which lists the assault weapons
    8 defined by Penal Code section 30510(f). The prayer for relief asks the Court to declare the
    9 code sections “unconstitutional facially and to the extent they apply to ‘assault weapons’
   10 or, alternatively, to the extent they prohibit any semi-automatic, centerfire rifle with a
   11 detachable magazine having a ‘pistol grip,’ ‘flash suppressor,’ ‘thumbhole stock,’ or
   12 ‘telescoping’ stock, or any semi-automatic, centerfire rifle that is over 26 inches in overall
   13 length.” These features are defined in the statute and in regulations as follows:
   14      • A “pistol grip that protrudes conspicuously beneath the action of the weapon,” Cal.
   15          Penal Code section 30515(a)(1)(A), “allows for a pistol style grasp in which the
   16          web of the trigger hand (between the thumb and index finger) can be placed beneath
   17          or below the top of the exposed portion of the trigger while firing.” Cal. Code
   18          Regs. tit. 11, § 5471(z). Plaintiffs describe this feature as one that “allows for a
   19          more comfortable and stable grip, which in turn promotes accuracy when shooting.”
   20          (FAC ¶ 9.) Moreover, it “lessens recoil” and “minimizes the chance that a rifle will
   21          slip out of the user’s hand while firing, further increasing safety, improving
   22          accuracy, and preventing stray shots.” (Id.)
   23      •   A thumbhole stock is “a stock with a hole that allows the thumb of the trigger hand
   24          to penetrate into or through the stock while firing.” Cal. Code Regs. tit. 11, § 5471
   25          (qq). Plaintiffs state that a thumbhole stock “makes it easier for a user to have a
   26          more comfortable and stable grip, which provides for greater accuracy and
   27          decreases the risk of dropping the weapon or firing stray shots.” (FAC ¶ 10.)
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    1      • A flash suppressor is “any device attached to the end of the barrel, that is designed,
    2         intended, or functions to perceptibly reduce or redirect muzzle flash from the
    3         shooter’s field of vision.” Cal. Code Regs. tit. 11, § 5471(r). Plaintiffs write that a
    4         function of this device “is to reduce recoil and muzzle (tip of the barrel) movement,
    5         making the rifle less painful for the user to operate and increasing accuracy.” (FAC
    6         ¶ 11.)
    7      • A telescoping stock is one that “is shortened or lengthened by allowing one section
    8         to telescope into another portion.” Cal. Code Regs. tit. 11, § 571(oo). Plaintiffs
    9         describe its purpose as “fit[ting] the particular user’s arm length, making it easier,
   10         thus safer, to shoot.” (FAC ¶ 12.)
   11         Plaintiffs make no allegations about the definition, safety, accuracy, or functional
   12 differences between a detachable, fixed, or bullet button magazine.
   13         Defendant moves to dismiss Plaintiffs’ Due Process and Takings claims pursuant to
   14 Federal Rule of Civil Procedure 12(b)(6). (MTD at 2.) Plaintiffs seek a preliminary
   15 injunction of enforcement of the date-and-source requirement. (PI Mem. at 1, Doc. 24-1.)
   16 The Court held oral argument on both motions.
   17      III.   MOTION TO DISMISS
   18         In their Motion for Preliminary Injunction, Plaintiffs argue that an injunction is
   19 proper because they have demonstrated a likelihood of success on the merits for all three
   20 causes of action. (PI Mem. at 14-27.) Defendant moves to dismiss two of these causes of
   21 action. (Mem. re MTD at 32.) Because resolution of the Motion to Dismiss disposes of
   22 some of the proffered grounds for issuing an injunction, the Court addresses the Motion to
   23 Dismiss first.
   24             A. Legal Standard
   25         In deciding a motion to dismiss under Rule 12(b)(6), courts must accept as true all
   26 “well-pleaded factual allegations” in a complaint. Ashcroft v. Iqbal, 556 U.S. 662, 679
   27 (2009). Furthermore, courts must draw all reasonable inferences in the light most
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    1 favorable to the non-moving party. See Daniels-Hall v. Nat’l Educ. Ass’n, 629 F.3d 992,
    2 998 (9th Cir. 2010). However, “courts ‘are not bound to accept as true a legal conclusion
    3 couched as a factual allegation.’” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)
    4 (quoting Papasan v. Allain, 478 U.S. 265, 286 (1986)). The complaint must contain
    5 “sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its
    6 face.’” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 570). “A claim has facial
    7 plausibility when the plaintiff pleads factual content that allows the court to draw the
    8 reasonable inference that the defendant is liable for the misconduct alleged.” Id. (citing
    9 Twombly, 550 U.S. at 556). Although a complaint “does not need detailed factual
   10 allegations,” the “[f]actual allegations must be enough to raise a right to relief above the
   11 speculative level . . . .” Twombly, 550 U.S. at 555. Thus, a complaint must (1) “contain
   12 sufficient allegations of underlying facts to give fair notice and to enable the opposing
   13 party to defend itself effectively[,]” and (2) “plausibly suggest an entitlement to relief,
   14 such that it is not unfair to require the opposing party to be subjected to the expense of
   15 discovery and continued litigation.” Starr v. Baca, 652 F.3d 1202, 1216 (9th Cir. 2011).
   16             B. Discussion
   17          At the outset, the parties disagree as to the nature of Plaintiffs’ challenge.
   18 Defendant asserts that Plaintiffs bring a facial challenge. (Mem. re MTD at 8.) Plaintiffs
   19 allege that the AWCA’s “definition of ‘assault weapon’ . . . violates the Due Process
   20 Clause” because it is not rationally related to a legitimate government purpose. (FAC
   21 ¶ 108.) They claim that the date-and-source requirement in particular violates the due
   22 process rights of plaintiffs who “cannot provide historical details of acquisition that they
   23 were under no obligation to keep or record at the time.” (Id. ¶ 112.) Plaintiffs challenge
   24 the law’s conditions for devisees of assault weapons as violative of the Takings Clause.
   25 Moreover, they assert that the date-and-source requirement implicates the Takings Clause
   26 for weapons owners who have no way of obtaining the required information. (Id.
   27 ¶¶ 114-116.) At oral argument, counsel for Plaintiffs argued that the Takings Clause and
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    1 Due Process challenges were as-applied challenges to the date-and-source requirement and
    2 conditions for devisees, and that Plaintiffs also asserted a facial challenge because the
    3 statute limits the possessory options of the owner. The Court concludes that Plaintiffs
    4 have indeed brought both facial and as-applied challenges: the FAC contains assertions
    5 both that the law on its face violates the Constitution, and that the application of the 2016
    6 amendments to a subset of Plaintiffs is unconstitutional. Accordingly, the Court will
    7 address standing and ripeness for the as-applied challenges before turning to the merits of
    8 the facial challenges.
    9                    1.     Standing and Ripeness of As-Applied Challenges
   10          The Court concludes that Plaintiffs’ as-applied challenges to the date-and-source
   11 requirement and conditions on possession for devisees are not ripe. An as-applied Takings
   12 Clause claim is not ripe where a plaintiff “has not yet obtained a final decision regarding
   13 the application of the . . . ordinance and . . . regulations to [his] property.” Williamson Cty.
   14 Reg'l Planning Comm'n v. Hamilton Bank of Johnson City, 473 U.S. 172, 186 (1985). The
   15 same applies to a Due Process claim. Id. at 199 (explaining that “even if viewed as a
   16 question of due process, respondent’s claim is premature”). The FAC does not include
   17 allegations of a single person who tried to register his or her weapon and thereafter was
   18 denied a permit. Nor does the FAC include facts that would support Plaintiffs’ assertion
   19 that any such attempt “to register [the] weapons would be futile.” (MTD Opp. at 16, Doc.
   20 21.) Plaintiffs make a number of conclusory assertions in their FAC, including that Martin
   21 “has no readily available source to discover” the required information and that many
   22 members of the California Rifle & Pistol Association are in the same position. (FAC
   23 ¶¶ 56, 60.) These assertions are insufficient to show that an attempt to register is an
   24 unnecessary “exercise[] in futility” for purposes of standing. Taniguchi v. Schultz, 303
   25 F.3d 950, 957 (9th Cir. 2002). 6
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                   After oral argument and the submission of the matter for decision, Plaintiffs requested
   27 leave to file a Supplemental Martin Declaration to support their Motion for Preliminary
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    1           Accordingly, the Court concludes that the as-applied challenges brought pursuant to
    2 the Due Process and Takings Clauses are not ripe for review. The Court considers these
    3 claims only to the extent they amount to facial attacks.
    4                   2.      Due Process Claim
    5           Plaintiffs argue that the AWCA and the 2016 amendments cannot survive
    6 rationality review required by the Due Process Clause because they are arbitrary and do
    7 not further any permissible governmental objective. (FAC ¶ 86.) Moreover, they argue
    8 that the date-and-source requirement retroactively criminalizes conduct that was legal
    9 when it was undertaken and should be analyzed with heightened scrutiny. (Id. ¶ 87; Opp.
   10 at 28-29.) Defendants move to dismiss the Due Process claim, contending that the
   11 amendments survive rationality review and accordingly are not arbitrary. (Mem. re: MTD
   12 at 18.) Further, they argue that the legislation does not create retroactive liability. (Reply
   13 at 13, Doc. 33.)
   14                         a. Rationality Review Standard
   15            “[A] regulation that fails to serve any legitimate government objective may be so
   16 arbitrary or irrational that it runs afoul of the Due Process Clause.” Lingle v. Chevron
   17 U.S.A. Inc., 544 U.S. 528, 542 (2005). A statute may be unconstitutional on substantive
   18 due process grounds if its “provisions are clearly arbitrary and unreasonable, having no
   19 substantial relation to the public health, safety, morals, or general welfare.” Vill. of Euclid,
   20 Ohio v. Ambler Realty Co., 272 U.S. 365, 395 (1926); see also Kim v. United States, 121
   21 F.3d 1269, 1273 (9th Cir. 1997). “Legislative acts that do not impinge on fundamental
   22 rights or employ suspect classifications are presumed valid, and this presumption is
   23 overcome only by a ‘clear showing of arbitrariness and irrationality.’” Kawaoka v. City of
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        Injunction. It is both too little and too late. First, there is no valid reason for Plaintiffs’ failure to
   26 include such facts in connection with their motion. Second, although some of the facts alleged
        therein relate to Martin’s attempts to find the required information for registration, those facts are
   27 still insufficient to show ripeness. Finally, as to the Motion to Dismiss, it would be improper for
   28 the Court to consider facts extraneous to the FAC.
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    1 Arroyo Grande, 17 F.3d 1227, 1234 (9th Cir. 1994) (quoting Hodel v. Indiana, 452 U.S.
    2 314, 331-32 (1981)) (applying rationality review to claimed property right). There is no
    3 requirement that the statute “actually advance its stated purposes.” Id. A legislative act
    4 “does not violate substantive due process as long as it advances any legitimate public
    5 purpose . . . and if it is ‘at least fairly debatable’ that the [legislative choice] was rationally
    6 related to legitimate governmental interests,” it must be upheld. Id. (quoting Christensen
    7 v. Yolo County Bd. of Supervisors, 995 F.2d 161, 165 (9th Cir. 1993)).
    8          If the law survives rationality review, then Plaintiffs cannot, as a matter of law, state
    9 a Due Process claim. Accordingly, the Court will determine whether the AWCA survives
   10 rationality review by determining whether the legislature had a legitimate government
   11 objective in enacting the AWCA, and whether the legislature could have believed at the
   12 time of enactment that the statute would promote that objective. 7
   13                         b. Legitimate Government Objective
   14          The Court concludes that the legislature has articulated a legitimate government
   15 objective for the AWCA. It is beyond question that promoting public safety and reducing
   16 incidents of gun violence are legitimate government objectives, as the Ninth Circuit, like
   17 many other circuits, has found these interests not merely legitimate but substantial or
   18 compelling. See, e.g., Fyock v. Sunnyvale, 779 F.3d 991, 1000 (9th Cir. 2015); Silvester v.
   19 Harris, 843 F.3d 816, 827 (9th Cir. 2016), cert. denied sub nom. Silvester v. Becerra, 138
   20 S.Ct. 945 (2018); Kolbe v. Hogan, 849 F.3d 114, 139 (4th Cir. 2017); N.Y.S. Rifle and
   21 Pistol Ass’n, Inc. v. Cuomo, 804 F.3d 242, 261 (2d Cir. 2015) (holding it “beyond cavil”
   22 that such interests are compelling).
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                   The Ninth Circuit has upheld district court 12(b)(6) dismissals based on findings that the
   26 law at issue survives rationality review. See, e.g., Taylor v. Rancho Santa Barbara, 206 F.3d 932,
        937-38 (9th Cir. 2000); Kahawaiolaa v. Norton, 386 F.3d 1271 (9th Cir. 2004); Nat'l Ass'n for
   27 Advancement of Psychoanalysis v. California Bd. of Psychology, 228 F.3d 1043 (9th Cir. 2000).
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    1          In enacting the AWCA, the legislature found that the firearms categorized as assault
    2 weapons have “such a high rate of fire and capacity for firepower that [their] function
    3 as . . . legitimate sports or recreational firearm[s] is substantially outweighed by the danger
    4 that [they] can be used to kill and injure human beings.” Cal. Penal Code section
    5 30505(a). The AWCA’s legislative history shows that the 2016 amendments were directly
    6 motivated by the 2015 mass shooting in San Bernardino, where the shooters used weapons
    7 with “bullet buttons” intended to circumvent prior iterations of the AWCA. California Bill
    8 Analysis, S.B. 880 Assem. at 8. 8 These legislative findings support that the legislature had
    9 a legitimate government objective to promote public safety when enacting and amending
   10 the AWCA.
   11          Accordingly, as a matter of law, the requirement that the legislature have a
   12 legitimate government objective is met.
   13                         c. Rational Relationship
   14          Having found that a legitimate government objective exists, the Court then
   15 determines whether it is at least “fairly debatable” that the legislation promotes that
   16 objective. Kawaoka, 17 F.3d at 1234.
   17          Plaintiffs assert that there are two arbitrary and therefore irrational features of the
   18 law: the definition of assault weapons, and the date-and-source requirement. They contend
   19 that the multi-part definition that defines weapons by model or by feature “prohibit[s]
   20 rifles with a fixed magazine due to their maker’s marks, regardless of their features, while
   21 permitting effectively identical rifles with non-fixed magazines, as long as they do not
   22 have the prohibited features.” (FAC ¶ 86.) As outlined above in the descriptions of the
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                   The Court takes judicial notice of the legislative history pursuant to Federal Rule of
   25 Evidence 201. See Zephyr v. Saxon Mortg. Servs., Inc., 873 F. Supp. 2d 1223, 1226 (E.D. Cal.
        2012). In ruling on a 12(b)(6) motion, a court “’may take judicial notice of matters of public
   26 record’ without converting a motion to dismiss into a motion for summary judgment.” Id.
        (quoting Lee v. City of L.A., 250 F.3d 668, 689 (9th Cir. 2001)).
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    1 weapons, Plaintiffs allege that the features “improve accuracy,” reduce recoil, or make the
    2 weapons more comfortable to use. They contend that the features do not increase the rate
    3 of fire or capacity for firepower. (Id. ¶¶ 13-14.) From these allegations of fact, they make
    4 the following conclusions: the features “facilitat[e] the rifle’s safe and effective operation
    5 when used for a lawful purpose such a self-defense,” rifles with these features “are no
    6 more dangerous or susceptible to use for criminal purposes than those without them,” (Id.
    7 ¶¶ 13-14, 17), none of the features make the rifles more dangerous or “raise[] their
    8 likelihood of use in crimes,” and the features “enhance public safety by making rifles safer,
    9 more accurate, and more effective for use in self-defense,” (Id. ¶ 81). Plaintiffs conclude,
   10 therefore, that the features in question make the weapons safe for the lawful purpose of
   11 self-defense.
   12          However, the legislature concluded that the accuracy and ease of use afforded by
   13 these features, far from making the weapons safer, made them more dangerous. For
   14 example, in passing Senate Bill 880, the bill’s supporters described the detachable
   15 magazine as “what made [the] weapon such an effective tool of mass murder.” California
   16 Bill Analysis, S.B. 880 Assem. at 6. The AWCA describes the firearms categorized as
   17 assault weapons as having “such a high rate of fire and capacity for firepower that [their]
   18 function as . . . legitimate sports or recreational firearm[s] is substantially outweighed by
   19 the danger that [they] can be used to kill and injure human beings.” Cal. Penal Code
   20 section 30505(a). The Court concludes that it is at least “fairly debatable” that restricting
   21 features that make such weapons more accurate and easier to use would promote the
   22 legitimate government purpose of public safety. Plaintiffs may disagree with the
   23 legislature’s conclusions, but that disagreement does not make the law irrational.
   24          Further, that the features-based definition does not include all of the combinations
   25 of features present in every weapon on the Category 1 and 2 lists says nothing about the
   26 relative safety of the weapons. Plaintiffs argue that the inconsistency between categories
   27 renders the law fatally arbitrary, but offer no facts as to why one configuration or
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    1 combination of features is necessarily safer than another. Therein lies the problem;
    2 Plaintiffs address the features in isolation, yet the features are prohibited only in
    3 combination with a non-fixed magazine. Without facts about safety concerns as to
    4 combined features or why one combination is safer than another, Plaintiffs’ conclusion is
    5 without support. Moreover, the legislature is permitted to reform its gun control regime
    6 incrementally; the lists need not have identical coverage to be rational. “[A] legislature
    7 traditionally has been allowed to take reform ‘one step at a time, addressing itself to the
    8 phase of the problem which seems most acute to the legislative mind.’” McDonald v. Bd.
    9 of Election Comm'rs of Chicago, 394 U.S. 802, 809 (1969) (quoting Williamson v. Lee
   10 Optical of Oklahoma, Inc., 348 U.S. 483, 489 (1955)). See also F.C.C. v. Beach
   11 Commc’ns, Inc., 508 U.S. 307, 315 (1993) (holding that “a legislative choice is not subject
   12 to courtroom fact-finding and may be based on rational speculation unsupported by
   13 evidence or empirical data”).
   14          The Court’s conclusion that the AWCA survives rationality review comports with
   15 widespread judicial consensus that restrictions on semi-automatic weapons bear a rational
   16 relationship to the objective of public safety. See, e.g., Kasler v. Lockyer, 23 Cal. 4th 472,
   17 491 (2000); Richmond Boro Gun Club, Inc. v. City of New York, 97 F.3d 681, 688 (2d Cir.
   18 1996); Olympic Arms v. Magaw, 91 F. Supp. 2d 1061, 1075 (E.D. Mich. 2000); Coalition
   19 of New Jersey Sportsmen, Inc. v. Whitman, 44 F. Supp. 2d 666, 686 (D.N.J. 1999)
   20 (explaining that the “rational link between public safety and a law proscribing possession
   21 of assault weapons is so obvious that it would seem to merit little discussion”); Benjamin
   22 v. Bailey, 234 Conn. 455, 479-80 (1995); Robertson v. City and County of Denver, 874
   23 P.2d 325, 333 (Colo. 1994) (severing provision found unconstitutionally vague and
   24 upholding remainder of ordinance on rationality review).
   25          Accordingly, as a matter of law, the Court concludes that the AWCA survives
   26 rationality review. Therefore, Plaintiffs’ claim that the statute violates the Due Process
   27 clause as irrational or arbitrary fails.
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    1                      d. Retroactive Liability
    2         Finally, the Court concludes that Plaintiffs mischaracterize the date-and-source
    3 requirement as retroactive. It does not criminalize past conduct, but creates future liability
    4 should an individual not comply with the regulation beginning in July 2018. In the Ninth
    5 Circuit, courts apply a two-step framework to determine if a law has a retroactive effect:
    6 “[f]irst, we determine whether the statute or regulation clearly expresses that the law is to
    7 be applied retroactively . . . [i]f not, we consider whether application of the regulation
    8 would have a retroactive effect by ‘attach[ing] new legal consequences to events
    9 completed before its enactment.’” Sacks v. S.E.C., 648 F.3d 945, 951 (9th Cir. 2011)
   10 (citations omitted). The date-and-source requirement does not apply retroactively, as it
   11 gives owners until July 1, 2018 to comply with the law. Moreover, the date-and-source
   12 requirement is triggered only if a weapons owner chooses to exercise the registration
   13 option. Weapons owners are afforded a variety of ways to comply with the law: they may
   14 also store the weapon out of state, sell it, or modify it. As to the second prong, the date-
   15 and-source requirement does not create a legal consequence for past ownership of a
   16 weapon, nor does it make it unlawful to have misplaced or failed to keep records of one’s
   17 transactions. Rather, it places a condition on continued possession of the weapon, and
   18 offers multiple avenues to avoid prospective criminal liability. It cannot be said that the
   19 law creates retroactive liability. Accordingly, no scrutiny more stringent than rationality
   20 review is due.
   21                      e. Conclusion as To Due Process Claim
   22         Plaintiffs have failed to show that the law is impermissibly irrational, and the Court
   23 concludes that, as a matter of law, the AWCA survives rationality review. Plaintiffs have
   24 also not shown that it retroactively criminalizes past conduct. Accordingly, the Court
   25 DISMISSES Plaintiffs’ Due Process Clause claim.
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    1                 3. Takings Clause Claim
    2          Plaintiffs argue that the AWCA enacts both a physical and regulatory taking. (FAC
    3 ¶ 115.) They assert that the law prevents them from bequeathing their weapons to family
    4 members and severely constrains their property rights in the weapons by forbidding their
    5 sale or transfer. (Id. ¶¶ 114-15.) Defendants argue that Plaintiffs’ Taking Clause claim
    6 fails as a matter of law, because the law is a valid exercise of the state’s police power.
    7 (Mem re: MTD at 13.)
    8          The Takings Clause of the Fifth Amendment provides that “private property shall
    9 not ‘be taken for public use, without just compensation.’” Lingle, 544 U.S. at 536. A
   10 physical taking occurs “[w]hen the government physically takes possession of an interest
   11 in property for some public purpose.” Tahoe-Sierra Pres. Council, Inc. v. Tahoe Reg'l
   12 Planning Agency, 535 U.S. 302, 322 (2002). If there is no physical dispossession of
   13 property for a public purpose, a regulation may still function as a “regulatory” taking. A
   14 regulatory takings challenge is governed by the Penn Central factors, “including the
   15 regulation’s economic impact on the claimant, the extent to which it interferes with distinct
   16 investment-backed expectations, and the character of the government action.” Lingle, 544
   17 U.S. at 528-29 (citing Penn. Central Transp. Co. v. New York City, 438 U.S. 104, 124
   18 (1978)). “If [an] ordinance is otherwise a valid exercise of the [government’s] police
   19 powers, the fact that it deprives the property of its most beneficial use does not render it
   20 unconstitutional.” Goldblatt v. Town of Hempstead, N.Y., 369 U.S. 590, 592 (1962)
   21 (citations omitted). However, “governmental action in the form of regulation [can] be so
   22 onerous as to constitute a taking which constitutionally requires compensation.” Id. at 594
   23 (citation omitted).
   24          In Mugler v. Kansas, the Supreme Court articulated a police power exception to the
   25 Takings Clause, holding that “[a] prohibition simply upon the use of property for purposes
   26 that are declared, by valid legislation, to be injurious to the health, morals, or safety of the
   27 community, cannot, in any just sense, be deemed a taking.” 123 U.S. 623, 668 (1887).
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    1 Courts have applied this principle to find that there is no taking where the government
    2 regulates the sale and manufacture of firearms, Akins v. United States, 82 Fed. Cl. 619,
    3 623-24 (2008), and no taking where machine guns denied registration had to be sold,
    4 surrendered, or disposed of, Fesjian v. Jefferson, 399 A.2d 861, 866 (D.C. 1979). See also
    5 AmeriSource Corp. v. United States, 525 F.3d 1149 (Fed. Cir. 2008) (no taking where
    6 government seized and retained prescription drugs pursuant to criminal investigation and
    7 they expired before being returned to owners).
    8         The standard the Supreme Court created in Lucas v. South Carolina Coastal
    9 Council clarifies the line between compensable takings and restrictions on property that
   10 were exercises of police power:
   11         It seems to us that the property owner necessarily expects the uses of his
   12         property to be restricted, from time to time, by various measures newly
   13         enacted by the State in legitimate exercise of its police powers; “[a]s long
   14         recognized, some values are enjoyed under an implied limitation and must
   15         yield to the police power[]” . . . In the case of land, however, we think the
   16         notion pressed by the Council that title is somehow held subject to the
   17         “implied limitation” that the State may subsequently eliminate all
   18         economically valuable use is inconsistent with the historical compact
   19         recorded in the Takings Clause that has become part of our constitutional
   20         culture.
   21 505 U.S. 1003, 1027-28 (1992) (quoting Pennsylvania Coal Co. v. Mahon, 260 U.S. 393,
   22 413 (1922)). Thus, legislation pursuant to the police power is generally not a taking, but
   23 there are exceptions under certain limited circumstances, such as where land will no longer
   24 have any economically valuable use.
   25         In Silveira v. Lockyer, the Ninth Circuit found that the “grandfather clause that
   26 permits [plaintiffs] to use the weapons in a number of reasonable ways so long as they
   27 register them with the state” was sufficient to show that the legislation was not “a
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    1 compensable taking.” 312 F.3d 1052, 1092 (9th Cir. 2002), abrogated on other grounds
    2 by District of Columbia v. Heller, 554 U.S. 570 (2008). The Ninth Circuit found as much
    3 even though plaintiffs alleged that the value of their weapons was reduced, which Plaintiffs
    4 do not allege here. Id. Plaintiffs do not dispute that this holding is binding authority on
    5 this Court.
    6          The Court is persuaded that the AWCA represents an exercise of police power and
    7 is not a taking. The AWCA does not compel conveyance of the guns for public use, but
    8 regulates possession of an object the legislature has found to be dangerous. The law offers
    9 a number of options to lawful gun owners that do not result in the weapon being
   10 surrendered to the government. (FAC ¶¶ 43, noting that Category 3 and 4 weapons may be
   11 modified or registered.) Plaintiffs are not, in every case, physically dispossessed of their
   12 weapons, and they have not put forth sufficient facts to show that the options that permit
   13 retention of the weapons, such as modification, operate as takings. Accordingly, Plaintiffs
   14 have not, as a matter of law, pleaded a facial takings claim.
   15          Nor is the Court persuaded that the conditions placed upon devisees of weapons act
   16 as a taking. As a preliminary matter, the statute does not prohibit bequeathment; rather, it
   17 places conditions upon what a devisee may do if she is bequeathed an assault weapon.
   18 Moreover, a facial challenge to the statute based on bequeathment fails. There are any
   19 number of weapons owners whose ability to bequeath their weapons would not be
   20 implicated: some devisees may live in states where they are able to possess the weapons,
   21 while other devisees may have been convicted of a felony and therefore could not inherit
   22 such a weapon irrespective of this legislation. As a matter of law, then, Plaintiffs have not
   23 established that the law’s enactment facially violates the Takings Clause.
   24          The Court further concludes that Plaintiffs’ reliance on Andrus v. Allard, 444 U.S.
   25 51 (1979), is misplaced. In Andrus, the Supreme Court concluded that a prohibition on the
   26 sale of endangered bird parts did not violate the Takings Clause, noting that “[i]n this case,
   27 it is crucial that appellees retain the rights to . . . devise the protected birds.” Id. at 66. But
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    1 while an owner of protected bird parts can do nothing to render those bird parts something
    2 other than what they are, the AWCA offers weapons owners an opportunity to modify their
    3 weapons so that they are no longer subject to the bequeathment regulations. What is more,
    4 Andrus does not create a generally applicable rule about the centrality of bequeathment
    5 rights to a Takings Clause analysis: the Supreme Court clearly stated that the ability to
    6 devise the bird parts was crucial “[i]n this case.” Id. It is far from clear that it is
    7 appropriate to analyze assault weapons in the same way as endangered bird parts.
    8            Accordingly, the Court DISMISSES the Takings Clause claim.
    9                   4. Leave to Amend
   10            Plaintiffs request leave to amend in the event of dismissal. Facial claims of
   11 violation of the Due Process and Takings Clause are dismissed as a matter of law, and
   12 amendment would therefore be futile. The Court grants leave to amend only to the extent
   13 Plaintiffs can allege additional facts to show standing and ripeness of their as-applied
   14 challenges to the date-and-source requirement and conditions on devisees. The Court
   15 advises Plaintiffs that such amendment would be futile if the new facts alleged in the
   16 proposed Supplemental Martin Declaration represent the universe of additional facts they
   17 intend to include. Martin’s bare assertion that he is unable to find the information through
   18 a review of his files and electronic correspondence does not plausibly support his
   19 conclusion that there is “no readily available source to discover” the information. (Mot.
   20 for Leave Ex. A, Suppl. Decl. ¶¶ 6-7, 9, Doc. 41.)
   21      IV.      MOTION FOR PRELIMINARY INJUNCTION
   22               Plaintiffs move to enjoin the date-and-source requirement for registration “until
   23 such time as [the] Court can fully adjudicate the many grave constitutional problems that
   24 this requirement creates.” (PI Mem. at 2.) As the Court has already granted Defendant’s
   25 motion to dismiss the Due Process and Takings Clause claims, the Court determines only
   26 whether Plaintiffs are entitled to a preliminary injunction based on their Second
   27 Amendment claims.
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    2             A. Legal Standard
    3          “A preliminary injunction is an extraordinary and drastic remedy.” Munaf v.
    4 Geren, 553 U.S. 674, 676 (2008) (internal quotations marks omitted). “The purpose of a
    5 preliminary injunction is merely to preserve the relative positions of the parties until a trial
    6 on the merits can be held.” Univ. of Tex v. Camenisch, 451 U.S. 390, 395 (1981). A
    7 district court should issue a preliminary injunction only “upon a clear showing that the
    8 plaintiff is entitled to such relief.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22
    9 (2008). This requires the district court to make findings of fact and conclusions of law.
   10 See Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d 1146, 1157 (9th Cir. 2007); see also
   11 Hicks v. Neal, No. C 12-2207 SI (PR), 2012 WL 3791399, at *3 (N.D. Cal. Aug. 31, 2012)
   12 (“In other words, the movant has to demonstrate, not merely allege, his entitlement to a
   13 preliminary injunction. . . . [A]llegations that may be sufficient for pleading purposes
   14 simply are not enough to prove his entitlement to a preliminary injunction.”).
   15          “[T]he party seeking the injunction . . . bear[s] the burden of demonstrating the
   16 various factors justifying preliminary injunctive relief . . . .” Granny Goose Foods, Inc. v.
   17 Bhd. of Teamsters, 415 U.S. 423, 441 (1974). “A plaintiff seeking a preliminary injunction
   18 must establish that he is likely to succeed on the merits, that he is likely to suffer
   19 irreparable harm in the absence of preliminary relief, that the balance of equities tips in his
   20 favor, and that an injunction is in the public interest.” Winter, 555 U.S. at 20. This
   21 “requires the plaintiff to make a showing on all four prongs.” Alliance for the Wild
   22 Rockies v. Cottrell, 632 F.3d 1127, 1135 (9th Cir. 2011).
   23             B. Discussion
   24          Plaintiffs contend that they have shown a likelihood of success on the merits on
   25 their Second Amendment claim because the date-and-source requirement burdens the core
   26 Second Amendment right and survives neither strict nor intermediate scrutiny. (PI Mem.
   27 at 22-26.) They assert that Plaintiffs would suffer irreparable harm to their constitutional
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    1 rights if they are unable to retain their weapons. (Id. at 27-28.) Because constitutional
    2 rights are implicated, they contend, an injunction is in the public interest. (Id. at 29.)
    3 Finally, they argue that the balance of the hardships tips in their favor because the
    4 injunction would simply maintain the status quo. (Id. at 30.)
    5         Defendant disputes that Plaintiffs have standing to challenge the date-and-source
    6 requirement, both because Plaintiffs have not presented sufficient evidence as to an actual
    7 or imminent injury, and because the alleged injury is not “fairly traceable” to the date-and-
    8 source requirement. (PI Opp. at 13-15, Doc. 27.) As to the likelihood of success on the
    9 merits, Defendants counter that the date-and-source requirement for assault weapons does
   10 not implicate the core Second Amendment right, and in any case survives intermediate
   11 scrutiny. (Id. at 23-29.) They argue that because Plaintiffs lack standing, there is an
   12 insufficient showing of irreparable harm. (Id. at 30.) Finally, Defendants assert that
   13 neither the public interest nor the balance of equities support the requested injunction. (Id.
   14 at 30-31.)
   15                1.      Likelihood of Success on the Merits
   16         Plaintiffs argue that the regulation plainly burdens the Second Amendment right,
   17 and that the regulation will discourage lawful owners from registering their weapons
   18 because they lack some of the required information. (PI Mem. at 26.) Moreover, it might
   19 mean that some lawful gun owners choose to dispossess themselves of their weapons
   20 rather than attempt to register them, store them out of state, or modify them. (See Martin
   21 Decl., Doc. 24-5) Defendants assert that the purpose of the date-and-source requirement is
   22 to help the California Department of Justice ascertain that existing weapons of the type
   23 banned by the AWCA are eligible to be registered and lawfully possessed. (Graham Decl.
   24 ¶¶ 26-28, Doc. 28.)
   25                        a. Level of Scrutiny
   26         In Heller, the Supreme Court held that the Second Amendment conferred an
   27 individual right to keep and bear arms. 554 U.S. at 595. The Ninth Circuit applies the
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    1 following two-step inquiry to Second Amendment challenges: “(1) the court ‘asks whether
    2 the challenged law burdens conduct protected by the Second Amendment,’; and (2) if so,
    3 what level of scrutiny should be applied.” Fyock, 779 F.3d at 996 (quoting United States
    4 v. Chovan, 735 F.3d 1127, 1136 (9th Cir. 2013)). Intermediate scrutiny is appropriate “if
    5 the regulation at issue does not implicate the core Second Amendment right or does not
    6 place a substantial burden on that right.” Id. at 998-99 (quoting Jackson v. City and
    7 County of S.F., 746 F.3d, 953, 964 (9th Cir. 2013)).
    8           Assuming without deciding that individual ownership of semi-automatic weapons
    9 implicates a core Second Amendment right, 9 the Court must determine the appropriate
   10 level of scrutiny. Every circuit to have encountered statewide bans on semi-automatic
   11 weapons designated as assault weapons has applied intermediate scrutiny. See Heller v.
   12 District of Columbia (Heller II), 670 F.3d, 1244 1262 (D.C. Cir. 2011) (prohibition on
   13 possession of certain semiautomatic weapons merited intermediate scrutiny as it “left a
   14 person ‘free to possess any otherwise lawful firearm’” (quoting United States v.
   15 Marzzarella, 614 F.3d 85, 97 (3d Cir. 2010))); Kolbe, 849 F.3d at 138 (4th Cir. 2017) (ban
   16 on certain military-style weapons and detachable magazines left “citizens free to protect
   17 themselves with a plethora of other firearms and ammunition”); N.Y.S. Rifle and Pistol
   18 Ass’n, Inc., 804 F.3d at 260 (holding that a prohibition on some semiautomatic weapons
   19 identified by feature was not a ban on an entire class of arms therefore “[t]he burden
   20 imposed by the challenged legislation [was] real, but . . . not ‘severe’”); Friedman v. City
   21 of Highland Park, Illinois, 784 F.3d 406, 411 (7th Cir. 2015) (applying intermediate
   22 scrutiny as the ban on assault weapons “leaves residents with many self-defense options”).
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   25       The Ninth Circuit has not specifically addressed this issue post-Heller, but other circuits have
      questioned whether bans on certain assault weapons implicate the Second Amendment. See, e.g.,
   26 Heller II 670 F.3d at 1262; Kolbe, 849 F.3d at 137. However, those decisions came at summary
      judgment when the deciding district courts had a full factual record available for review. At this
   27 stage and for the purposes of this Order, the Court will assume, without deciding, that the first step
   28 of the Ninth Circuit test is met.
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    1          The Court likewise concludes that intermediate scrutiny is appropriate in this
    2 instance because, regardless of whether the regulation implicates the core Second
    3 Amendment right, the date-and-source requirement does not place a substantial burden on
    4 that right. The date-and-source requirement simply regulates the manner in which persons
    5 may exercise their Second Amendment rights; it does not eliminate them. Should weapons
    6 owners be unable to exercise the registration option and choose to dispossess themselves
    7 of their assault weapons, they would remain free to choose any weapon that is not
    8 restricted by the AWCA or another state law. In other words, even if the date-and-source
    9 requirement operated as an outright ban, Plaintiffs would be left with myriad options for
   10 self-defense—including the handgun, the “quintessential” self-defense weapon per Heller.
   11 Because even an outright ban on certain types of semiautomatic weapons does not
   12 substantially burden the Second Amendment right, enacting a date-and-source requirement
   13 as a condition of the grandfathering registration option falls far short of the substantial
   14 burden necessary to trigger strict scrutiny. Accordingly, the Court applies intermediate
   15 scrutiny.
   16                        b. Application of Intermediate Scrutiny
   17          The Ninth Circuit’s test for intermediate scrutiny instructs that “(1) the
   18 government’s stated objective must be significant, substantial, or important; and (2) there
   19 must be a ‘reasonable fit’ between the challenged regulation and the asserted objective.”
   20 Silvester, 843 F.3d at 821-22 (quoting Chovan, 735 F.3d at 1139). The state need not
   21 “show that [the regulation] is the least restrictive means of achieving its interest.” Fyock,
   22 779 F.3d at 1000 (citation omitted). Rather, the state is “required to show only that [the
   23 regulation] promotes a ‘substantial government interest that would be achieved less
   24 effectively absent the regulation.’” Id. (quoting Colacurcio v. City of Kent, 163 F.3d 545,
   25 553 (9th Cir. 1998)). The stated objective of the AWCA is to promote public safety and
   26 prevent gun violence, and the date-and-source requirement in particular is aimed at
   27 assisting the California Department of Justice to ascertain that existing weapons of the type
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    1 banned by the AWCA are eligible to be registered and lawfully possessed. (Graham Decl.
    2 ¶¶ 26-28.) As discussed above, it is beyond question that the government’s interest in
    3 promoting public safety and reducing gun violence is important or substantial. See, e.g.,
    4 Fyock, 779 F.3d at 1000; Silvester, 843 F.3d at 827; Kolbe, 849 F.3d at 139; N.Y.S. Rifle
    5 and Pistol Ass’n, Inc., 804 F.3d at 261.
    6         Plaintiffs argue that the regulation “not only is not reasonably tailored to further
    7 [these objectives], but actually impedes them” because it will discourage lawful gun
    8 owners who lack the date and source of their acquisition from registering their weapons.
    9 (PI Mem. at 26.) This argument fails in its premise, namely, that the registration of
   10 weapons by owners who have no date or source information promotes safety more than it
   11 would be promoted by requiring the weapons owner to use one of the law’s other available
   12 options (sale, out-of-state storage, or modification). Plaintiffs describe a false choice
   13 between registration and being deprived of their weapons, when the legislature has made
   14 other options available.
   15         Moreover, the government need only establish a reasonable fit, not narrow or close
   16 tailoring. Fyock, 779 F.3d at 1000. A reasonable fit is established if the government’s
   17 objective will be achieved “less effectively absent the regulation.” Id. (quoting
   18 Colacurcio, 163 F.3d at 553. Requiring the date and source information helps California
   19 Department of Justice to more effectively determine whether a firearm is lawfully
   20 possessed, and the law’s objective would be less effectively achieved without this
   21 requirement. (Graham Decl. ¶¶ 26-28.) Thus, Defendant has established a reasonable fit.
   22         Accordingly, the Court concludes that Plaintiffs have not established a likelihood of
   23 success on the merits of this claim.
   24                 2.     Irreparable Injury
   25         The Court also concludes that Plaintiffs have not demonstrated a likelihood of
   26 irreparable injury. A plaintiff must support his request for a preliminary injunction with
   27 evidence that will “demonstrate, not merely allege, his entitlement to a preliminary
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    1 injunction . . . allegations that may be sufficient for pleading purposes simply are not
    2 enough to prove . . . entitlement to a preliminary injunction.” Hicks, 2012 WL 3791399, at
    3 *3. The Court must tailor an injunction “to remedy the specific harm alleged . . . an
    4 overbroad preliminary injunction is an abuse of discretion.” Nat. Res. Def. Council, Inc. v.
    5 Winter, 508 F.3d 885, 886 (9th Cir. 2007) (citing Lamb-Weston, Inc. v. McCain Foods,
    6 Ltd., 941 F.2d 970, 974 (9th Cir. 1991)).
    7         The conclusions offered in the declarations of Martin and the California Rifle &
    8 Pistol Association do not “demonstrate” that Plaintiffs will experience irreparable harm
    9 stemming from the date-and-source requirement. Nor would they allow the Court to tailor
   10 an injunction to the specific injury alleged. Martin alleges that he has “no readily available
   11 source” to discover the date he acquired his weapon nor the name or address of the
   12 individual or business from whom he acquired it, but alleges no steps that he has taken to
   13 show that he engaged in due diligence to find the information. Similarly, Richard Travis’s
   14 declaration on behalf of the California Rifle & Pistol Association alleges that his
   15 association has members who will not be able to meet the registration requirements
   16 because they “do not have any readily available source to discover” the required
   17 information. (Travis Decl. ¶ 5, Doc. 24-2.) But the Court has no additional facts about
   18 any diligence on the part of these members in attempting to get this information, nor why
   19 such information is deemed not “readily available.” Some members may have misplaced
   20 the information; others may have simply not looked through their records which may be in
   21 storage; perhaps some engaged in private party transfers. Clearly, the Court has to engage
   22 in speculation to determine the scope and source of the alleged harm. This is sufficient
   23 neither to justify the extraordinary remedy of injunctive relief nor to allow the Court to
   24 properly tailor an injunction. Further, the absence of any facts related to the other options
   25 weapons owners have to comply with the law prior to July 1, 2018, such as modifying the
   26 weapon, undermines Plaintiffs’ position that the date-and-source requirement is the cause
   27 of any alleged irreparable harm.
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    1         As noted above, Plaintiffs sought to file a supplemental declaration of Dennis
    2 Martin (“Supplemental Martin Declaration”). (Motion, Doc. 41.) After reviewing the
    3 proposed supplement, the Court concludes that even if it were to consider the additional
    4 facts alleged, its determinations about likelihood of success on the merits and adequacy of
    5 showing of irreparable harm would not change. Martin alleges that after “reviewing [his]
    6 files and electronic correspondence” for one of his weapons, he was unable to locate any
    7 records related to his purchase. (Martin Supp’l Decl. ¶ 7.) As to another weapon acquired
    8 via a private party transaction, he states that he does “not know when that transaction
    9 occurred, the name of the seller, or the California licensed firearms dealer who processed
   10 the transaction,” nor can he find the information “after reviewing [his] records and
   11 electronic correspondence.” (Id. ¶ 9.) Martin concludes that he will “dispossess” himself
   12 of any weapons prior to the registration deadline. (Id. ¶ 11.) Martin includes no
   13 information about what, if any, burden would result from instead modifying the weapon.
   14 Accordingly, the alleged harm is not set forth with sufficient clarity to allow the Court to
   15 conclude that such harm stems from the date-and-source requirement. In fact, no facts
   16 have been alleged as to what it would mean to modify a weapon to either fix the magazine
   17 or remove a statutory feature, either as to any economic burden or fundamental change to
   18 the weapon. Moreover, as Defendant notes in its Opposition, Martin has not alleged facts
   19 to show that he engaged in due diligence such as contacting the California Department of
   20 Justice’s Bureau of Firearms or the firearm’s manufacturer. (Opp. at 4; see also Graham
   21 Decl. ¶¶ 20-23.) Even if it considered the additional facts presented in the proposed
   22 Supplemental Martin Declaration, the Court would conclude that Plaintiffs have not made
   23 an adequate showing on likelihood of success on the merits or irreparable injury. The
   24 Court therefore denies the Motion for Leave as moot.
   25                3.     Balance of the Hardships
   26         Plaintiffs assert that the government will suffer no harm if it is enjoined from
   27 enforcing the date-and-source requirement until the issue has been heard on the merits.
   28
                                                     26
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    1 Defendant, however, asserts the principle that “[a]ny time a State is enjoined by a court
    2 from effectuating statutes enacted by representatives of its people, it suffers a form of
    3 irreparable injury.” Maryland v. King, 567 U.S. 1301, 1301 (2012) (internal quotation
    4 marks omitted). In particular, they contend that an injunction would “cause a concrete
    5 harm against the state’s law enforcement public-safety interests,” including the possibility
    6 that “an illegally possessed weapon might be given legal status” thereby “compromis[ing]
    7 public safety.” (PI Opp. at 31.) Defendant also justifiably questions how many people
    8 will actually be negatively affected by the date-and-source requirement; while Plaintiffs
    9 argue that there are “potentially thousands” of affected individuals, after months of
   10 litigation, they have specifically identified only one. (Id.)
   11          The Ninth Circuit instructs that when balancing the hardships “of the public interest
   12 against a private interest, the public interest should receive greater weight.” F.T.C. v.
   13 Affordable Media, 179 F.3d 1228, 1236 (9th Cir. 1999) (internal quotation marks omitted).
   14 The Court weighs the burden on Plaintiffs who may choose to dispossess themselves of
   15 their weapons rather than selling them, storing them out of state, or modifying them,
   16 against that on Defendant, who will be enjoined from enforcing a law intended to increase
   17 public safety. Taking into account the weighing suggested by F.T.C., the Court concludes
   18 that the balance tips in favor of Defendant.
   19                 4.     Public Interest
   20          Finally, because the objective of the AWCA is public safety, Plaintiffs fail to show
   21 that an injunction would be in the public interest. See, e.g., Tracy Rifle & Pistol LLC v.
   22 Harris, 118 F. Supp. 3d 1182, 1193 (E.D. Cal. 2015), aff'd, 637 F. App'x 401 (9th Cir.
   23 2016) (holding that “[t]he costs of being mistaken, on the issue of whether the injunction
   24 would have a detrimental effect on handgun crime, violence, and suicide, would be
   25 grave.”) Plaintiffs assert that the public interest lies in upholding the Constitution, and
   26 contend that there is no possible risk to public safety because anyone who cannot fulfill the
   27 date-and-source requirement already has the weapon at issue in their possession. (PI Mem.
   28
                                                     27
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    1 at 29.) However, the point of requiring weapons owners to register or take other action
    2 with regards to the assault weapons the state has classified as dangerous is to immediately
    3 begin to enhance the regulatory regime, not to maintain the status quo.
    4           Accordingly, Plaintiffs have not demonstrated the propriety of injunctive relief, and
    5 the Motion for Preliminary Injunction is DENIED.
    6      V.      CONCLUSION
    7           Accordingly, the Court GRANTS Defendant’s Motion to Dismiss, DENIES
    8 Plaintiffs’ Motion for Preliminary Injunction, and DENIES AS MOOT Plaintiffs’ Motion
    9 for Leave. Plaintiffs may amend their complaint as to the Takings and Due Process Clause
   10 claims only to the extent that they can allege facts related to the ripeness and standing of
   11 an as-applied challenge and to the extent they can do so consistent with their obligations
   12 under Federal Rule of Civil Procedure 11. Any amendments must be made with
   13 twenty-one (21) days of this order.
   14
   15 Dated: May 09, 2018
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   17                                             _________________________________
                                                      HON. JOSEPHINE L. STATON
   18
                                                   UNITED STATES DISTRICT JUDGE
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